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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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Timothy Condon, individually on behalf of
himself and all others similarly situated and
John Does (1-100) on behalf of themselves
and all others similarly situated,

                          Plaintiff,

v.                                                                     Case No.: 7:16-cv-02295-VB

Commonwealth Dairy, LLC,
                                                                       NOTICE OF APPEARANCE

                          Defendant.

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        PLEASE TAKE NOTICE that the undersigned attorney appears as counsel of record

for plaintiff Timothy Condon. The undersigned certifies that they are admitted to practice in this

Court, and requests that all notices, pleadings, and other documents given or filed in the above-

captioned action be given and served upon the undersigned attorney.


Dated: New York, New York
      June 3, 2016

                                                                Respectfully submitted,

                                                                THE SULTZER LAW GROUP PC


                                                                By:___/s/ Joseph Lipari__________
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